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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GLAZIERS, ARCHITECTURAL METAL                        )
AND GLASS WORKERS LOCAL                              )
UNION NO. 27 WELFARE AND                             )
PENSION FUNDS,                                       ) NO. 21-CV-2316
                                                     )
                      PLAINTIFFS,                    ) JUDGE PACOLD
                                                     )
       v.                                            ) MAGISTRATE JUDGE HARJANI
                                                     )
ALUMITAL CORPORATION,                                )
an Illinois corporation,                             )
                                                     )
                      DEFENDANT.                     )

                               STIPULATION OF DISMISSAL

       The parties, by and through their attorneys, and pursuant to Federal Rule of Civil
Procedure 41(a)(1)(A)(ii), voluntarily dismiss this action with prejudice for any and all claims
with each party to bear their own fees and costs.

TRUSTEES OF THE GLAZIERS                                     ALUMITAL CORPORATION
LOCAL 27 FRINGE BENEFIT FUNDS

/s/ Grant R. Piechocinski                                    /s/Christina Wernick
One of Plaintiffs’ Attorneys                                 Attorney for Defendant
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